      Case 21-05166-grs         Doc 253       Filed 08/03/22 Entered 08/03/22 09:14:06                         Desc Main
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                                        UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF KENTUCKY
                                               LEXINGTON DIVISION

                 IN RE

                 HDR FARMS INCORPORATED                                                 CASE NO. 20-50888

                 DEBTOR

                 HDR FARMS INCORPORATED                                                         PLAINTIFF
                 LIQUIDATING TRUST

                 V.                                                                      ADV. NO. 21-5166

                 APPLIED BOTANICS LLC f/k/a XSI                                               DEFENDANT
                 USA, LLC, et al.

                                               ORDER SETTING HEARING

                       It is ORDERED that this matter will come before the Court for hearing at 9:00 a.m. on

                August 4, 2022, in the U.S. Bankruptcy Court, Community Trust Building, Second Floor

                Courtroom, 100 E. Vine Street, Lexington, Kentucky. Counsel for the Plaintiff and

                Defendants Kawel Laubach and Cozen O’Connor shall appear to discuss the summary judgment

                motions, supplemental filings, and upcoming trial.




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___________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.


                                                                   Signed By:
                                                                   Gregory R. Schaaf
                                                                   Bankruptcy Judge
                                                                   Dated: Wednesday, August 3, 2022
                                                                   (grs)
